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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JERALD LENTINI, et al.,             *
                                    *
      Plaintiffs,                   *
                                    *
      v.                            *                Civil Action No. 1:25-cv-00166 (JMC)
                                    *
DEPARTMENT OF GOVERNMENT            *
EFFICIENCY, et al.,                 *
                                    *
      Defendants.                   *
                                    *
*************************************
                                    *
AMERICAN PUBLIC HEALTH              *
ASSOCIATION, et al.,                *
                                    *
      Plaintiffs,                   *
                                    *
      v.                            *                Civil Action No. 1:25-cv-00167 (JMC)
                                    *
OFFICE OF MANAGEMENT AND            *
BUDGET, et al.,                     *
                                    *
      Defendants.                   *
                                    *
*     *       *     *   *     *     *                *      *       *       *       *         *

                          NOTICE OF DEFENDANTS’ POSITION

       One minute after the undersigned filed Plaintiffs’ Motion to Expedite Briefing and

Adjudication of Their Motion for Expedited Discovery, Dkt. #23, he received an email from

Defendants’ counsel (which had apparently been sent while he was filing the motion), which

stated: “Defendants would oppose a motion for an accelerated briefing schedule, and we would

request that, in your motion, when you note Defendants’ opposition, to also add that Defendants

intend to file a response to your motion for an accelerated briefing schedule within 48 hours.”
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        The Lentini Plaintiffs respectfully maintain that Defendants should not be allowed to

unilaterally moot the relief requested in the motion to expedite by responding to it a day after a

response to the underlying motion for expedited discovery is requested, but they will not press

this point.

Date: March 5, 2025

                                                  Respectfully submitted,

                                                   /s/ Kelly B. McClanahan
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